

ORDER

PER CURIAM:
AND NOW, this 2nd day of June, 1998, there having been filed with this Court by James Joseph Fritz his verified Statement of Resignation dated April 17,1998, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa. R.D.E., it is
ORDERED that the resignation of James Joseph Fritz be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if *81any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
